
In re Confidential Party; Disciplinary Counsel; — Plaintiffs); Applying for Joint Petition for Consent Discipline.
ORDER
Considering the Joint Petition for Consent Discipline filed by respondent and the Office of Disciplinary Counsel,
IT IS ORDERED that the Joint Petition for Consent Discipline be and hereby is rejected pursuant to Supreme Court Rule XIX, § 20.
IT IS FURTHER ORDERED that this matter be remanded for consideration of the previously filed formal charges.
KIMBALL and TRAYLOR, JJ., would accept the consent discipline.
/s/ Pascal F. Calogero, Jr. Justice, Supreme Court of Louisiana
